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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                §
    ROBERT (BOB) ROSS,                          §
                                                §
         Plaintiff/Counterclaim Defendant,      §        Civil Action No. 4:22-cv-343-Y
                                                §
    v.                                          §        Judge Terry R. Means
                                                §
    ASSOCIATION OF PROFESSIONAL                 §
      FLIGHT ATTENDANTS, et al.,                §
                                                §
         Defendants/Counterclaim Plaintiff.     §


                APPENDIX OF NON-PUBLISHED CASES CITED IN
               APFA’S REPLY BRIEF IN FURTHER SUPPORT OF ITS
          MOTION FOR LEAVE TO AMEND ANSWER AND COUNTERCLAIM


         Pursuant to Local Rule 7.1(i) and Section II.C of this Court’s Case Management

Requirements, the Association of Professional Flight Attendants (“APFA”) submits this appendix

of non-published cases cited in its Reply Brief In Further Support Of Its Motion For Leave To

Amend Answer And Counterclaim:


                         Non-Published Case                              Appendix Pages

 Martin v. Local 556, TWU, 2014 WL 4358480, No. 3:14-cv-0500              1-10
 (N.D. Tex. Sept. 3, 2014)

 Rogers v. Buchanan, 2014 WL 4449800, No. 3:12-cv-2458                    11-12
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Dated: September 27, 2023          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on September 27, 2023, a true and correct copy of the foregoing Appendix Of

Non-published Cases Cited In APFA’s Reply In Further Support Of Its Motion For Leave To

Amend Answer And Counterclaim was served upon all persons who have requested notice and

service of pleadings in this case via the Court’s ECF system.

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                                                3
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                                                                  § 141–97 (“LMRA”), and the Labor–Management Reporting
                   2014 WL 4358480                                and Disclosure Act of 1959, 29 U.S.C. § § 401–531
      Only the Westlaw citation is currently available.           (“LMRDA”). Plaintiffs are flight attendants employed by
               United States District Court,                      Southwest Airlines. They are also members of TWU Local,
                       N.D. Texas,                                the local of the labor union that represents Southwest Airlines'
                     Dallas Division.                             flight attendants.1 Each plaintiff ran for and was elected to
                                                                  a union local office in 2012. Martin was elected President,
        Stacy K. MARTIN, et al., Plaintiffs,                      Click First Vice President, and Lindemann Treasurer.
                      v.
                                                                  Following the elections, the President of the international
        LOCAL 556, TRANSPORTATION                                 union (“TWU International”) requested that the TWU
             WORKERS UNION OF                                     Local Executive Board grant leave to Thom McDaniel
                                                                  (“McDaniel”), the Immediate Past President of the TWU
        AMERICA, AFL–CIO, Defendant.
                                                                  Local, so that he could accept a position with TWU
                                                                  International. McDaniel allegedly opposed plaintiffs during
             Civil Action No. 3:14–CV–0500–D.
                                                                  the 2012 elections. Plaintiffs contend that, as union President,
                              |
                                                                  Martin opposed TWU International's request because TWU
                    Signed Sept. 3, 2014.
                                                                  International did not follow proper protocol in submitting it.
Attorneys and Law Firms                                           The Executive Board denied the request. TWU International's
                                                                  President then allegedly threatened to charge Martin with
Daniel B. Nelson, John F. Nelson, Nelson Pursley PLLC,            violations of union rules if he continued to oppose the request.
Houston, TX, for Plaintiffs.                                      Ultimately, the dispute was submitted to arbitration, and the
                                                                  arbitrator ruled in McDaniel's favor.
Edward Cloutman, IV, Edward B Cloutman, III, Cloutman &
Cloutman, L.L.P., Dallas, TX, for Defendant.
                                                                  In the spring of 2013, a member of the TWU Local Executive
                                                                  Board charged Click and Lindemann jointly with violations
                                                                  of union rules, and another member2 separately charged Click
MEMORANDUM OPINION AND ORDER
                                                                  with other union rules violations. Click's individual trial was
SIDNEY A. FITZWATER, Chief Judge.                                 scheduled for May 14, 2013, and Click and Lindemann's
                                                                  joint trial was scheduled for May 15, 2013. On May 13 the
 *1 In this labor dispute arising from disciplinary actions       Executive Board attempted to delay the trial dates to May
taken against officers of a union local, the court must decide    22 and May 23, 2013, respectively, by insisting that Martin
whether it has subject matter jurisdiction over one claim         reschedule the trials. Martin allegedly refused to assist the
and whether plaintiffs have stated a claim on which relief        Executive Board in its attempt to delay the trials on the basis
can be granted. For the reasons that follow, the court grants     that doing so would constitute a violation of union rules.
defendant's motion to dismiss under Fed.R.Civ.P. 12(b)(1),        Click and Lindemann attended their trials on May 14 and 15,
grants in part and denies in part defendant's motion to dismiss   2013 and were acquitted of all charges. On May 16, 2013
under Rule 12(b)(6), and grants plaintiffs leave to amend as      Lindemann went on formally approved, extended medical
to all claims that are curable by amendment.                      leave. On the same day, the Executive Board notified Click
                                                                  and Lindemann that it was nullifying the results of the May
                                                                  14 and 15 trials and scheduling their retrials for May 23 and
                                                                  24, 2013, respectively. On May 23 a retrial committee found
I
                                                                  Click guilty and removed him from office. On May 24 a retrial
This is an action by plaintiffs Stacy K. Martin (“Martin”),       committee found Click and Lindemann guilty, removed them
Chris Click (“Click”), and Jerry Lindemann (“Lindemann”)          from office, and banned them from holding union office for
against defendant Local 556, Transportation Workers Union         three years. Plaintiffs allege that neither Click nor Lindemann
of America, AFL–CIO (“TWU Local”), seeking relief under           was present for the retrials on May 23 and 24. On May 16,
the Norris LaGuardia Act, 29 U.S.C. § § 101–15 (“NLA”),           2013 the Executive Board also charged Martin with violating
the Labor Management Relations Act of 1947, 29 U.S.C. §           union rules. The Executive Board conducted Martin's trial on


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May 29 and 30, found him guilty, removed him from office,                without respect to the amount in controversy or without
and banned him from holding union office for three years.                regard to the citizenship of the parties.
                                                                         Section 185(a) imposes a jurisdictional requirement. See,
 *2 Plaintiffs then brought the instant lawsuit against TWU              e.g., Tex. Indus., Inc. v. Radcliff Materials, Inc., 451 U.S.
Local, alleging that it had violated their rights under the              630, 642–43, 101 S.Ct. 2061, 68 L.Ed.2d 500 (1981)
LMRDA. TWU Local filed a motion to dismiss and an                        (“In this vein, this Court has read § 301(a) of the Labor
amended motion to dismiss. Plaintiffs then filed an amended              Management Relations Act, 29 U.S.C. § 185(a), ... as
complaint, and TWU Local filed the instant motion to                     granting jurisdiction over defined areas of labor law[.]”);
dismiss the amended complaint. In its present motion, TWU                Hou. Ref., L.P. v. United Steel, Paper & Forestry, Rubber,
Local incorporates by reference the arguments and authorities            Mfg., Energy, Allied Indust. & Serv. Workers Int'l Union,
asserted in its first motion to dismiss.3 TWU Local moves to             ––– F.3d ––––, 2014 WL 4197057, at *3 (5th Cir. Aug.25,
dismiss count II of plaintiffs' amended complaint under Rule             2014) (“We have in the past read section 301(a) as a
12(b)(1) for failure to establish federal question jurisdiction,         jurisdictional requirement.”). “[A]n allegation of a labor
and to dismiss count I under Rule 12(b)(6) for failure to plead          contract violation is both necessary and sufficient to
a plausible claim for relief under the LMRDA.                            support subject-matter jurisdiction under section 301(a).
                                                                         If the court later finds the allegedly violated contract to
                                                                         be non-existent or invalid, it must dismiss for failure to
                                                                         state a claim, not for lack of jurisdiction.” Hou. Ref. L.P.,
II                                                                       2014 WL 4197057, at *5 (footnote omitted); see also id.
                                                                         at *6 (“[T]he alleged violation of a labor contract is both
The court considers first TWU Local's Rule 12(b)(1) motion
                                                                         necessary and sufficient to invoke federal subject-matter
to dismiss.4                                                             jurisdiction under section 301(a) of the Labor Management
                                                                         Relations Act, 29 U.S.C. § 185(a).”).
                                                                       *3 The amended complaint does not allege that count II
A                                                                     pertains to a violation of a contract between an employer
                                                                      and a labor organization or between labor organizations.
“Federal courts are courts of limited jurisdiction, and absent        The only conceivable contract mentioned in count II is the
jurisdiction conferred by statute, lack the power to adjudicate       TWU International Constitution. See Am. Compl. ¶¶ 73–76.
claims.” Stockman v. Fed. Election Comm'n, 138 F.3d 144,              But the amended complaint does not allege that the TWU
151 (5th Cir.1998). “The burden of proof for a Rule 12(b)             International Constitution is a contract between an employer
(1) motion to dismiss is on the party asserting jurisdiction.         and a labor organization or between labor organizations.
Accordingly, the plaintiff constantly bears the burden of proof       Plaintiffs allege that the TWU International Constitution “is
that jurisdiction does in fact exist.” Ramming v. United States,      a contract between [TWU] Local and its members.” Id. at ¶
281 F.3d 158, 161 (5th Cir.2001) (per curiam) (citations              76. They assert that the TWU Local Executive Board violated
omitted).                                                             its duties and responsibilities under the TWU International
                                                                      Constitution. Id. at ¶¶ 77–80.


B                                                                     Accordingly, because an allegation of a labor contract
                                                                      violation is necessary to support subject matter jurisdiction
Plaintiffs predicate subject matter jurisdiction over count II        under § 301(a), 29 U.S.C. § 185(a), and plaintiffs have not
on the jurisdictional grant found in 29 U.S.C. § 185(a) of the        alleged such a violation, the court grants TWU Local's motion
LMRA,5 which provides:                                                to dismiss count II of the amended complaint under Rule
                                                                      12(b)(1) for lack of subject matter jurisdiction.

     Suits for violation of contracts between an employer and
     a labor organization representing employees in an industry
                                                                      III
     affecting commerce as defined in this chapter, or between
     any such labor organizations, may be brought in any district     TWU Local moves under Rule 12(b)(6) to dismiss count I of
     court of the United States having jurisdiction of the parties,   plaintiffs' amended complaint.



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                                                                   (1982). Although the LMRDA as originally enacted focused
                                                                   on disclosure requirements and regulating union elections,
                                                                   over time various amendments have shifted the focus toward
A
                                                                   “protection for members of unions paralleling certain rights
In deciding defendant's Rule 12(b)(6) motion, the court            guaranteed by the Federal Constitution[.]” Id. In count I of
evaluates the sufficiency of plaintiffs' amended complaint         the amended complaint, plaintiffs allege violations of the
“by accepting all well-pleaded facts as true, viewing them         LMRDA, citing sections that deal with a host of topics,
in the light most favorable to the plaintiff.” Bramlett v.         including reporting and disclosure requirements, the bill of
Med. Protective Co. of Fort Wayne, Ind., 855 F.Supp.2d 615,        rights for members of labor organizations, and provisions
618 (N.D.Tex.2012) (Fitzwater, C.J.) (quoting In re Katrina        governing criminal violations of the Act. Plaintiffs request
Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.2007)            relief under § 102 of the NLA and § § 401, 411, 412, 413,
(internal quotation marks and alteration omitted)). To survive     431, 481, 482, 501, 529, and 530 of the LMRDA.
defendant's motion to dismiss under Rule 12(b)(6), plaintiffs
must plead “enough facts to state a claim to relief that is
plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.       IV
544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “A
claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference     A
that the defendant is liable for the misconduct alleged.”
                                                                   Count I must be dismissed to the extent based on § 102 of
Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173
                                                                   the NLA and § § 401, 413, and 530 of the LMRDA because
L.Ed.2d 868 (2009). “The plausibility standard is not akin
                                                                   these provisions do not expressly authorize a private cause of
to a ‘probability requirement,’ but it asks for more than a
                                                                   action. Section 102 is an introductory provision of the NLA
sheer possibility that a defendant has acted unlawfully.” Id.
                                                                   that merely sets out the public policy underlying the Act. 29
(quoting Twombly, 550 U.S. at 556); see also Twombly, 550
                                                                   U.S.C. § 102 (“It is necessary that [the individual unorganized
U.S. at 555 (“Factual allegations must be enough to raise
                                                                   worker] have full freedom of association, self-organization,
a right to relief above the speculative level[.]”). “[W]here
                                                                   and designation of representatives of his own choosing, to
the well-pleaded facts do not permit the court to infer more
                                                                   negotiate the terms and conditions of his employment”).
than the mere possibility of misconduct, the complaint has
                                                                   Similarly, § 401 of the LMRDA declares the public policy
alleged-but it has not ‘shown'-‘that the pleader is entitled to
                                                                   that underlies the LMRDA. 29 U.S.C. § 401 (declaring that
relief.’ “ Iqbal, 556 U.S. at 679 (quoting Fed.R.Civ.P. 8(a)(2))
                                                                   LRMDA is intended to protect members of labor unions from
(alteration omitted). “Threadbare recitals of the elements of
                                                                   various “improper practices on the part of labor organizations,
a cause of action, supported by mere conclusory statements,
                                                                   employers, labor relations consultants, and their officers and
do not suffice.” Id. at 678. Furthermore, under Rule 8(a)
                                                                   representatives which distort and defeat the policies” of the
(2), a pleading must contain “a short and plain statement of
                                                                   LMRA and the Railway Labor Act).
the claim showing that the pleader is entitled to relief[.]”
Although “the pleading standard Rule 8 announces does not
                                                                   Section 413 of the LMRDA provides that nothing in § § 411–
require ‘detailed factual allegations,’ “ it demands more than
                                                                   15 should be interpreted to limit the rights and remedies that
“labels and conclusions.” Iqbal, 556 U.S. at 678 (quoting
                                                                   members of labor organizations have under other provisions
Twombly, 550 U.S. at 555). “[A] formulaic recitation of the
                                                                   of state or federal law, or under the constitution and bylaws
elements of a cause of action will not do.” Id . (quoting
                                                                   of their respective labor organizations. See 29 U.S.C. § 413.
Twombly, 550 U.S. at 555).
                                                                   It does not create a private right of action.

                                                                   Section 530 is a statute that imposes criminal penalties on
B                                                                  labor organizations that use “force or violence, or threat of the
                                                                   use of force or violence, to restrain, coerce, or intimidate ...
 *4 “The Labor–Management Reporting and Disclosure Act             any member of a labor organization for the purpose of
of 1959 was the product of congressional concern with              interfering with or preventing the exercise of any right to
widespread abuses of power by union leadership.” Finnegan          which he is entitled” under the LMRDA. 29 U.S.C. § 530.
v. Leu, 456 U.S. 431, 435, 102 S.Ct. 1867, 72 L.Ed.2d 239          Section 530 does not create a private cause of action. The


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Supreme Court “rarely implie[s] a private right of action           Sections 481 and 482 of the LMRDA provide the exclusive
under a criminal statute[,]” and where the Court has, “ ‘there      remedy for challenging a union election that has already been
was at least a statutory basis for inferring that a civil cause     conducted. See 29 U.S.C. § 483 (“The remedy provided by
of action of some sort lay in favor of someone.’ ” Chrysler         this subchapter for challenging an election already conducted
Corp. v. Brown, 441 U.S. 281, 316, 99 S.Ct. 1705, 60 L.Ed.2d        shall be exclusive.”). Section 481 provides, in relevant part:
208 (1979) (quoting Cort v. Ash, 422 U.S. 66, 79, 95 S.Ct.
2080, 45 L.Ed.2d 26 (1975)). Section 530 does not contain              [i]f the Secretary [of Labor], upon application of any
any language suggesting that Congress intended to authorize            member of a local labor organization, finds after [a]
a private cause of action. Thus plaintiffs do not plausibly state      hearing ... that the constitution and bylaws of such labor
a claim for relief under § 530.                                        organization do not provide an adequate procedure for the
                                                                       removal of an elected officer guilty of serious misconduct,
                                                                       such officer may be removed, for cause shown and after
                                                                       notice and hearing, by the members in good standing voting
B                                                                      in a secret ballot.
                                                                    Under § 482, except in two instances, only the Secretary of
 *5 Count I must be dismissed to the extent based on
                                                                    Labor can bring an action for a violation of § 481. See 29
§§ 431 and 501 of the LMRDA because, although these
                                                                    U.S.C. § 482(a)-(b); Calhoon v. Harvey, 379 U.S. 134, 140,
sections do confer a private cause of action, plaintiffs have
                                                                    85 S.Ct. 292, 13 L.Ed.2d 190 (1964) (noting that Congress
not pleaded any factual allegations to state a claim for
                                                                    “decided not to permit individuals to block or delay union
relief under either section. Section 431 pertains to certain
                                                                    elections by filing federal-court suits for violations of [§ 481
disclosure and reporting requirements. See 29 U.S.C. § 431.
                                                                    ]”). A union member can bring a civil action in the following
For example, it provides that every labor organization must
                                                                    circumstances: (1) against the Secretary of Labor to review
submit to the Secretary of Labor certain reports about the
                                                                    the Secretary's decision not to file an action under § 482,
organization and annual reports that detail the organization's
                                                                    see Dunlop v. Bachowski, 421 U.S. 560, 574–75, 95 S.Ct.
use of funds. See id. (a)-(b). Section 431 also requires that
                                                                    1851, 44 L.Ed.2d 377 (1975), overruled on other grounds,
labor organizations make the information in these reports
                                                                    467 U.S. 526, 104 S.Ct. 2557, 81 L.Ed.2d 457 (1984); and
available to its members. See id. § 431(c). But plaintiffs
                                                                    (2) to enforce “a candidate's right to distribution of campaign
have neither pleaded any factual allegations that mention the
                                                                    literature and equal access to membership lists.” Local No. 82,
reports covered by § 431 nor alleged any failure by TWU
                                                                    Furniture & Piano Moving v. Crowley, 467 U.S. 526, 540 n.
Local to fulfill its duties related to these reports.
                                                                    15, 104 S.Ct. 2557, 81 L.Ed.2d 457 (1984). Plaintiffs have not
                                                                    pleaded any factual allegations that enable the court to draw
Section 501 imposes fiduciary obligations primarily of
                                                                    the reasonable inference that they are seeking relief under
a pecuniary nature on the representatives of labor
                                                                    either of these exceptions. Accordingly, plaintiffs have failed
organizations. See 29 U.S.C. § 501; see also Hoffman v.
                                                                    to state a claim on which relief can be granted under § § 481
Kramer, 362 F.3d 308, 316 n. 3 (5th Cir.2004) (“[T]he
                                                                    and 482.
fiduciary obligations imposed are primarily pecuniary in
nature-that is, having to do with the custody, control,
and use of a union's money and its financial interests
or property[.]”). Section 501(b) authorizes union members           V
to bring a derivative suit on the union's behalf for a
representative's violation of the duties prescribed by § 501.        *6 Plaintiffs also allege that TWU Local violated § § 411,
See id. § 501(b). But plaintiffs fail to plead any factual          412, and 529 of the LMRDA.
allegations relating to the fiduciary duties imposed in § 501,
and they have therefore failed to state a plausible claim for
relief on this basis.                                               A

                                                                    Section 411 of the LMRDA sets out the core of the guarantees
                                                                    afforded to members of labor organizations by the LMRDA.
C
                                                                    It constitutes a “bill of rights,” and it is “designed to guarantee
                                                                    every union member equal rights to vote and otherwise



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participate in union decisions, freedom from unreasonable          show that (1) they are members of a labor organization;
restrictions on speech and assembly, and protection from           (2) the organization fined, suspended, expelled, or otherwise
improper discipline.” Local No. 82, 467 U.S. at 536–37. The        disciplined them; and (3) the organization imposed the
LMRDA provides two provisions that enable a union member           punishment in retaliation for their exercise of a right protected
to enforce the member's rights under this “bill of rights:” §§     by the LMRDA. See 29 U.S.C. § 529. As under § 412, to
412 and 529.                                                       state a claim under § 529, plaintiffs must allege that any
                                                                   punishment or restriction imposed by TWU Local was a
Section 412 grants union members a private cause of action         limitation or restriction on their membership rights. Removal
for a union's infringement of the rights secured by §§ 411–        from elected union office does not qualify as a suspension,
15. To state a claim under § 412, plaintiffs must show (1)         expulsion, or other discipline under § 529. See Finnegan, 456
that they are members of a labor organization and (2) that the     U.S. at 438 n. 9 (dictum) (explaining that discipline referred
organization infringed a right secured by § 411, 412, 413, 414,    to in §§ 411(a)(5) and 529 means limitations on membership
or 415. See Martinez v. Am. Fed'n of Gov't Emps., 980 F.2d         rights, not removal from union office); Adams–Lundy I, 731
1039, 1041–42 (5th Cir.1993). “Union leaders, per se, are not      F.2d at 1157 (dictum) (citing Finnegan for proposition that “ §
themselves a protected class under [the LMRDA], except that        [411(a)(5) ] and § [529] protect only the rights of membership
they, too, may not be deprived of the basic rights attending       per se, and that a union officer who is removed from office
on union membership.” Adams–Lundy v. Ass'n ofProf'l Flight         but not deprived of membership in the union has suffered no
Attendants, 731 F.2d 1154, 1156 (5th Cir.1984) (“Adams–            loss cognizable as ‘discipline’ proscribed by these sections of
Lundy I ”). Thus it is generally insufficient for a plaintiff      the Act”).
to plead a plausible claim under § 412 if the plaintiff only
alleges the infringement of a right that he or she only has in
the capacity of a union officer. See id.
                                                                   B

There is an exception to this general rule. If plaintiffs can       *7 The court considers first plaintiffs' allegations under §
show that their removal from office “was part of a scheme          411. They assert that TWU Local violated the LMRDA by
to subvert the union's basic democratic structure or otherwise     infringing on their right to free speech.
directly implicated rights of members,” they can state a claim
for relief as officers under § 412. See Adams–Lundy I, 731         Section 411(a) (2) of the LMRDA provides, in pertinent part:
F.2d at 1159. To state a claim under this exception, plaintiffs
must show “that the defendants are attempting to dismantle            Every member of any labor organization shall have the
the union's electoral system, ... or that members opposing that       right to meet and assemble freely with other members;
faction are ... suppressed or threatened with reprisals.” Id.         and to express any views, arguments, or opinions; and to
Allegations that merely suggest that an internal union struggle       express at meetings of the labor organization his views,
is “antidemocratic” are insufficient to plausibly allege the          upon candidates in an election of the labor organization
existence of a pattern of intimidation and stifled dissent. Id.       or upon any business properly before the meeting, subject
                                                                      to the organization's established and reasonable rules
Section 529 provides members a private cause of action                pertaining to the conduct of meetings[.]
when their union fines, suspends, expels, “or otherwise            “Where the injury allegedly suffered by union officers is
discipline[s]” them for exercising any right to which they are     done to them in their status as officers, not as individual
entitled under the LMRDA. “The primary difference between          members, there can be no cause of action under section[ ]
§ [529] and § [412] is that § [529] protects against retaliation   411[.]” Adams–Lundy v. Ass'n of Prof'l Flight Attendants,
for the exercise of any right secured under the LMRDA,             792 F.2d 1368, 1372 (5th Cir.1986) (“Adams–Lundy II ”).
whereas § [412] only protects rights secured under [§ § 411–       The court must therefore decide whether plaintiffs have
15].” United Steel Workers Local 12–369 v. United Steel            pleaded sufficient facts to permit the court to draw the
Workers Int'l, 728 F.3d 1107, 1115 (9th Cir.2013) (citing          reasonable inference that TWU Local disciplined plaintiffs
Finnegan, 456 U.S. at 439 n. 10). Depending on the right           for exercising their rights to free speech as members rather
the member seeks to protect, §§ 412 and 529 can be entirely        than as officers, or that plaintiffs' dismissal was part of a
duplicative. See id. at 1115 n. 4 (citing Finnegan, 456 U.S.       pattern of intimidation and stifled dissent.
at 439 n. 10). To state a claim under § 529, plaintiffs must



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The amended complaint does not plead factual content that          suspended, expelled, or otherwise disciplined except for
would permit the court to draw the reasonable inference that       nonpayment of dues by such organization or by any officer
TWU Local disciplined plaintiffs for exercising their rights       thereof unless such member has been ... (B) given a
to free speech as members rather than as officers. Plaintiffs      reasonable time to prepare his defense[.]” “[D]iscipline,” as
allege that the charges leveled against Click and Lindemann        used in § 411(a)(5), refers to “punitive actions diminishing
were based on their “actions regarding information they            membership rights.” Finnegan, 456 U.S. at 438. Plaintiffs
provided the Local 556 membership at membership meetings           allege that TWU Local disciplined them both by removing
in 2013[.]” Am. Compl. ¶ 19. Plaintiffs assert that the            them from union office and banning them from holding any
charges leveled against Martin were based on “various              union office for three years. Removal from an elected office
conduct including making presentations to the members              is not a form of “discipline” actionable under § 411(a)(5).
on issues surrounding Local 556, allegedly making false            See Adams–Lundy I, 731 F.2d at 1156–57 (holding that an
representations to the membership, and for standing in             elected union officer's removal from office does not constitute
opposition to the Local 556 Executive Board.” Id. ¶ 37. The        “infringement” of the rights secured by § 411). Although the
only reasonable inference the court can draw from these            Fifth Circuit has not specifically held that being banned from
allegations is that plaintiffs engaged in this conduct in their    holding union office is a form of discipline, it has stated
capacities as officers. With respect to the additional, internal   in dicta that the right to run for office is a membership
charges leveled against Click that are “related to a rally         right. See id. at 1156. The court will therefore assume that a
that occurred [in March 2013] to protest the TSA's knives          ban against running for union office is a form of discipline
on planes decision [,]” id. ¶ 20, plaintiffs have failed to        that is actionable under § 411(a)(5). It will consider whether
allege facts from which the court can reasonably infer that        plaintiffs have plausibly alleged that TWU Local violated
the charges were based on Click's speech as opposed to his         Click's rights under § 411(a)(5)(B) by banning him from
conduct.                                                           running for union office without providing him a reasonable
                                                                   time to prepare his defense.
The amended complaint also fails to plead factual content
that permits the court to draw the reasonable inference that       Section 411(a) (5)(B) does not specify the amount of time that
plaintiffs' dismissal was part of a pattern of intimidation        is necessary to comply with the “adequate time” requirement.
and stifled dissent. Plaintiffs allege that their opponents        Courts generally decide whether a requirement such as this
“infiltrated” the Executive Board and “usurped” their              has been satisfied “with due regard to the practicalities and
offices. Am. Compl. ¶¶ 47 & 62. These allegations clearly          peculiarities of the case.” See, e.g., Air Lines Stewards &
express plaintiffs' concern that the Executive Board's actions     Stewardesses Ass'n, Local 550 v. Am. Airlines, Inc. 455 F.2d
were undemocratic, but that alone is insufficient. See             101, 108 (7th Cir.1972) (citing Mullane v. Cent. Hanover
Adams–Lundy I, 731 F.2d at 1159 (holding that plaintiffs'          Bank & Trust Co., 339 U.S. 306, 313–14, 70 S.Ct. 652, 94
allegations that defendants' conduct was anti-democratic           L.Ed. 865 (1950)). The LMRDA gives plaintiffs the right to
were insufficient to show infringement of basic rights of          present evidence and to cross-examine witnesses, see, e.g.,
membership). Plaintiffs have not plausibly alleged that TWU        Holschen v. Int'l Union of Painters, 598 F.3d 454, 463–64 (8th
Local is “attempting to dismantle the union's electoral            Cir.2010), but it does not guarantee “the specific protections
system,” or “that members opposing [plaintiffs' opponents]         associated with judicial proceedings, including the right to be
are in any fashion suppressed or threatened with reprisals.”       represented by counsel and the technical rules of pleading,
Id. Absent any further aggravating allegations, plaintiffs'        procedure, and evidence.” Frye v. United Steelworkers, 767
allegations are insufficient to state a claim for relief under §   F.2d 1216, 1224 (7th Cir.1985); see also Conway v. Int'l
411(a)(2).                                                         Ass'n of Heat & Frost Insulators, 209 F.Supp.2d 731, 751
                                                                   (N.D.Ohio 2002) (holding that LMRDA did not guarantee
                                                                   discovery), aff'd, 93 Fed. Appx. 780 (6th Cir.2004).
C
                                                                   The amended complaint does not plead sufficient facts to
 *8 Plaintiffs also allege that TWU Local violated the             enable the court to draw the reasonable inference that TWU
LMRDA by giving Click only a week to prepare for the               Local failed to give Click a reasonable time to prepare his
second trials against him. Section 411(a)(5)(B) provides           defense. Plaintiffs aver that Click was notified of at least
that “[n]o member of any labor organization may be fined,          some of the charges against him in March 2013, that Click's



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trial dates were set in April 2013, and that his initial trials      Bell v. Int'l Bhd. of Teamsters, 108 F.3d 1376, 1997 WL
were conducted on May 14 and 15, 2013. Plaintiffs maintain           103320, at *5 (6th Cir.1997) (unpublished table decision)
that the Executive Board notified Click on May 16 that it            (same). “Not all of the due process protections available in
was nullifying the results of the initial trials and scheduling      the federal courts apply to union disciplinary proceedings.”
retrial for May 24.6 Plaintiffs do not plead any factual             Teamsters, 247 F.3d at 385. “A violation of a procedural
allegations suggesting that the May 14 and 15 trials differed        provision of a union's constitution is actionable only if the
substantially from the May 23 and 24 retrials. Assuming              violation deprived the party of a full and fair hearing under
that Click did not learn about all of the charges against him        the LMRDA.” Id. at 387.
until the trial dates were set in April 2013, Click had 14
and 15 days, respectively, to prepare for his first trials, and
six and seven days more, respectively, to hone his defense           2
in light of what he learned about TWU Local's case at his
first trials. This is well within the range that courts have         Plaintiffs have failed to state a plausible claim that TWU
considered reasonable under § 41 1(a)(5)(B). See Wellman v.          Local violated the LMRDA by trying Click and Lindemann
Int'l Union of Operating Eng'rs, 812 F.2d 1204, 1206 (9th            twice for the same offense. As a general proposition, the
Cir.1987) (28 days); Falcone v. Dantinne, 288 F.Supp. 719,           Supreme Court has declined to interpret the Due Process
727 (E.D.Pa.1968) (23 days), rev'd on other grounds, 420             Clause as extending double jeopardy protection beyond the
F.2d 1157 (3d Cir.1969); Vars v. Int'l Bhd. of Boilermakers,         context of criminal prosecution. See Dowling v. United States,
215 F.Supp. 943, 947 (D.Conn.1963) (14 days), aff'd, 320             493 U.S. 342, 354, 110 S.Ct. 668, 107 L.Ed.2d 708 (1990).
F.2d 576 (2d Cir.1963). Thus plaintiffs have failed to state a       Although courts have found a violation of § 411(a)(5)(C)
plausible claim for relief under § 411(a)(5)(B).                     where a union member was retried by individuals who had
                                                                     previously heard the charges and found the member guilty,
                                                                     see, e.g., Rosario v. Amalgamated Ladies' Garment Cutters'
                                                                     Union, Local 10, 605 F.2d 1228, 1243 (2d Cir.1979), this
D
                                                                     is not what plaintiffs allege. Plaintiffs fail to plead any
 *9 Plaintiffs allege that TWU Local violated the LMRDA              factual allegations that explain why the Executive Board
by infringing their rights to a full and fair hearing. They assert   nullified Click and Lindemann's May 14 and 15 trials and
that TWU Local deprived them of a full and fair hearing              ordered retrials, or that there were any other circumstances
when (1) Click and Lindemann were tried twice for the                of unfairness surrounding the retrials that would enable the
same offense; (2) Lindemann was retried in absentia while            court to draw the reasonable inference that plaintiffs' rights
on authorized medical leave; (3) Martin was tried before a           to a full and fair hearing were violated. Merely alleging that
panel of his accusers; (4) Martin was denied the right to have       a union ordered a new trial, without more, does not state a
the assistance of counsel; and (5) Martin was convicted on           plausible claim that the union failed to afford a member a
insufficient evidence.                                               full and fair hearing. See Frye, 767 F.2d at 1224 (stating that
                                                                     plaintiff's “contention that a trial de novo by the International's
                                                                     Commission was improper as a matter of law is not supported
                                                                     by reason or authority”).
1

Section 411(a) (5)(C) of the LMRDA protects members of
labor organizations from being disciplined without first being       3
afforded a full and fair hearing. See 29 U.S.C. § 411(a)
(5)(C). “The full and fair hearing clause does not require            *10 Plaintiffs have also failed to state a plausible claim that
unions to provide the ‘full panoply of procedural safeguards         TWU Local violated § 411(a)(5)(C) when it tried Lindemann
found in criminal proceedings,’ but only to comply with              in absentia during his absence from work on approved
the ‘fundamental and traditional concepts of due process.’ “         medical leave. “Fundamental due process ... gives a party the
Wildberger v. Am. Fed'n of Gov't Emps., 86 F.3d 1188, 1193           right to be present during proceedings brought against him ...,
(D.C.Cir.1996) (quoting Ritz v. O'Donnell, 566 F.2d 731, 735         subject to limited exceptions.” Holschen, 598 F.3d at 464 n.
(D.C.Cir.1977)); see United States v. Int'l Bhd. of Teamsters,       4. This right is infringed when the circumstances of the case
247 F.3d 370, 385 (2d Cir.2001) (same) (“Teamsters ”);               suggest that the accused did not have a “fair opportunity”


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to attend the relevant hearing. Moody v. Miller, 864 F.2d          S.Ct. 623, 99 L.Ed. 942 (1955)). A union's “combination
1178, 1181 (5th Cir.1989) (per curiam). Plaintiffs allege          of investigative, prosecutorial, and adjudicatory functions in
that TWU Local violated Lindemann's rights by conducting           [a single body] does not, by itself, violate the LMRDA.”
the retrial when they knew that he was out on formally             Wildberger, 86 F.3d at 1195. But when this combination
approved extended medical leave. But merely alleging that          occurs, courts “should be alert to the possibilities of bias
Lindemann was ill and unable to attend the hearing does not        that may lurk in the way particular procedures actually work
enable the court to draw the reasonable inference that TWU         in practice.” Withrow v. Larkin, 421 U.S. 35, 54, 95 S.Ct.
Local failed to afford Lindemann a full and fair hearing. If,      1456, 43 L.Ed.2d 712 (1975). It is therefore insufficient
through no fault of TWU Local, a member “[was] unable              for plaintiffs merely to allege that the tribunal that filed
or refuse[d] to attend a disciplinary hearing, due process         charges against them also adjudicates the charges. See id.
requires no more than that the hearing be held in accordance       at 58 (holding that “[t]he fact that the same agency makes
with all of the other requirements of due process that are         [the initial decision to charge and the ultimate adjudicative
called for under the circumstances.” Id.; see also Rosario,        decision] in tandem ... relat[ing] to the same issues does not
605 F.2d at 1244 (finding no due process violation where           result in a procedural due process violation”). Plaintiffs “must
parties were entitled to be present at second trial but chose to   overcome a presumption of honesty and integrity in those
boycott proceeding instead). This conclusion is strengthened       serving as adjudicators; and [they] must convince that, under
by plaintiffs' failure to allege that Lindemann notified TWU       a realistic appraisal of psychological tendencies and human
Local that he was too ill to attend the May 24 retrial or to       weakness, conferring investigative and adjudicative powers
request a continuance. See Parker v. Ellis, 258 F.2d 937, 940      on the same individuals poses such a risk of actual bias or
(5th Cir.1958) (dismissing due process claim where defendant       prejudgment” to constitute a denial of the right to a full and
failed to raise health issue or seek continuance during trial).    fair hearing. Id. at 47.
Thus plaintiffs' allegations regarding Lindemann's trial in
absentia do not state a plausible claim on which relief can be      *11 The court holds that plaintiffs have plausibly pleaded
granted.                                                           that Martin was denied a full and fair hearing when he
                                                                   was tried by a panel that included his accusers. Plaintiffs'
                                                                   allegations regarding the “running controversy” between
                                                                   Martin and the faction associated with McDaniel enable the
4
                                                                   court to draw the plausible inference that there was “the
Plaintiffs allege that TWU Local violated Martin's rights to       possibility of bias.” Bakalis v. Golembeski, 35 F.3d 318, 326
a full and fair hearing under the LMRDA when he was                (7th Cir.1994) (applying Withrow and holding that plaintiff
tried by the Executive Board, which included the person or         had adduced sufficient evidence at summary judgment stage
people who filed the charges against him initially. Essentially,   to overcome presumption of impartiality); see also Valley,
plaintiffs' complain that the combination of investigative,        118 F.3d at 1053 & n. 4 (quoting Bakalis with approval
prosecutorial, and adjudicatory functions in the Executive         for proposition that “appellate jurisprudence has favored
Board violated Martin's right to due process under § 411(a)        recusing board members who display a bias or prejudice that
(5)(C).                                                            would result in an unconstitutional decision”). In support
                                                                   of their claim that the Executive Board prejudged Martin's
“The basic requirement of constitutional due process is a          guilt, plaintiffs allege that they all ran together on a slate of
fair and impartial tribunal, whether at the hands of a court,      candidates opposed by past-president McDaniel. They aver
an administrative agency or a government hearing officer.”         that, when Martin refused to assist the Executive Board in
Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047, 1052             rescheduling Click and Lindemann's trials, the Executive
(5th Cir.1997) (citing Gibson v. Berryhill, 411 U.S. 564,          Board suspended Martin from the office of union president
569, 93 S.Ct. 1689, 36 L.Ed.2d 488 (1973)). “In an effort          in retaliation. Plaintiffs allege that the Executive Board did
to prevent ‘even the probability of unfairness,’ courts have       not explain its decision to suspend Martin until May 16,
identified situations in which the probability of actual bias      when it charged him with violating the union constitution.
on the part of the judge or decisionmaker is too high to           Based on these allegations, and taking a realistic appraisal of
be constitutionally tolerable.” Baran v. Port of Beaumont          psychological tendencies and human weaknesses, the court
Navigation Dist. of Jefferson Cnty., Tex., 57 F.3d 436, 444        holds that plaintiffs' allegation that the Executive Board
(1995) (quoting In re Murchison, 349 U.S. 133, 136, 75             acted in a prosecutorial and adjudicative role during the



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same hearing plausibly suggests a risk of actual bias or           requires “some evidence,” plaintiffs' conclusory allegation
prejudgment. Cf. Stein v. Mutuel Clerks' Guild of Mass.,           that the evidence presented at Martin's trial was insufficient
Inc., 560 F.2d 486, 491 (1st Cir.1977) (upholding trial court's    does not enable the court to draw the reasonable inference that
conclusion that plaintiff did not get full and fair hearing        TWU Local violated Martin's right to a full and fair hearing.
where union president, who was also member of executive            Cf. Rosario, 605 F.2d at 1243 (noting that “union disciplinary
committee, made comments to committee revealing he had             proceedings ... except in extreme cases, are not reviewed in
prejudged case).                                                   the federal courts for the sufficiency of the evidence”).



5                                                                  E

Plaintiffs allege that TWU Local violated Martin's right to a      The court finally considers whether plaintiffs have stated a
full and fair hearing when Martin was denied assistance of         plausible claim for relief under § 529, which protects a union
counsel. Plaintiffs assert that this right is guaranteed by TWU    member from retaliation for exercising his or her rights under
Local's constitution.                                              the LMRDA.

As noted above, the LMRDA's guarantee of a right to a full         Plaintiffs allege that Martin's suspension from office occurred
and fair hearing does not include the right to be represented      in retaliation for his refusal to reschedule Click's and
by counsel. See Frye, 267 F.2d at 1224. Although the TWU           Lindemann's trials. But removal from elected union office
Local constitution may guarantee a union member the right          does not qualify as a suspension, expulsion, or other discipline
to assistance of counsel, “[a] union's violation of its own        under § 529. See Finnegan, 456 U.S. at 439 n. 9 (dictum).
constitution is not per se a violation of the LMRDA.” Adams–       Nowhere in the amended complaint do plaintiffs allege
Lundy II, 792 F.2d at 1373. Rights guaranteed solely by a          that the Executive Board's decision to ban plaintiffs from
local union's constitution are contractual rights-not LMRDA        running for office was taken in retaliation for the exercise
rights-and “a federal court has no jurisdiction to enforce union   of plaintiffs' rights. Accordingly, the court holds that the
constitutions and by-laws as such.” Id. (citing McGovern           amended complaint does not plausibly allege a right to relief
v. New Orleans Clerks & Checkers, Local 1497 ILA, 343              under § 529.
F.Supp. 351, 352 (E.D.La.1972), aff'd per curiam, 463 F.2d
423 (5th Cir.1972)). Thus plaintiffs' bare allegations that
Martin was not afforded the right to counsel, in violation of
                                                                   VI
TWU Local's constitution, are insufficient of themselves to
state a plausible claim for relief.                                Although the court is dismissing some of plaintiffs' claims,
                                                                   it will permit them to replead. See In re Am. Airlines, Inc.,
                                                                   Privacy Litig., 370 F.Supp.2d 552, 567–68 (N.D.Tex.2005)
6                                                                  (Fitzwater, J.) (“[D]istrict courts often afford plaintiffs at
                                                                   least one opportunity to cure pleading deficiencies before
 *12 Plaintiffs assert that the Executive Board convicted          dismissing a case, unless it is clear that the defects are
Martin on insufficient evidence presented to support the           incurable or the plaintiffs advise the court that they are
charges against him. Section 411(a)(5)(C) “requires the            unwilling or unable to amend in a manner that will avoid
charging party to provide some evidence at the disciplinary        dismissal.” (citation and internal quotation marks omitted)).
hearing to support the charges made.” Int'l Bhd. of                The defects with respect to § 102 of the NLA and § § 401, 413,
Boilermakers v. Hardeman, 401 U.S. 233, 246, 91 S.Ct.              and 530 of the LMRDA are incurable, and the court therefore
609, 28 L.Ed.2d 10 (1971) (noting that the Supreme                 declines to permit plaintiffs to attempt to plead a claim under
Court has “repeatedly held that conviction on charges              any of these provisions. But because plaintiffs have not stated
unsupported by any evidence is a denial of due process,”           that they cannot, or are unwilling to, cure the other defects that
and that § 411(a)(5)(C) “import[s] a similar requirement           the court has identified, it grants them 28 days from the date
into union disciplinary proceedings”). This standard respects      this memorandum opinion and order is filed to file a second
“the apparent congressional intent to allow unions to govern       amended complaint.
their own affairs.” Id. Nevertheless, although § 411(a) (5)(C)


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***
                                                                     SO ORDERED.
 *13 The court grants TWU Local's motion to dismiss count
II under Rule 12(b)(1), and it grants in part and denies in part
                                                                     All Citations
TWU Local's Rule 12(b)(6) motion as to plaintiffs' claims in
count I.                                                             Not Reported in F.Supp.3d, 2014 WL 4358480, 201 L.R.R.M.
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Footnotes
1      In deciding TWU Local's Rule 12(b)(6) motion, the court construes the amended complaint in the light most favorable
       to plaintiffs, accepts as true all well-pleaded factual allegations, and draws all reasonable inferences in their favor. See,
       e.g., Lovick v. Ritemoney Ltd., 378 F.3d 433, 437 (5th Cir.2004). “The court's review [of a Rule 12(b)(6) motion] is limited
       to the complaint, any documents attached to the complaint, and any documents attached to the motion to dismiss that
       are central to the claim and referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d
       383, 387 (5th Cir.2010).

          A Rule 12(b)(1) motion can mount either a facial or factual challenge. See Hunter v. Branch Banking & Trust Co., 2013
          WL 607151, at *2 (N.D.Tex. Feb.19, 2013) (Fitzwater, C.J.) (citing Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.
          May 1981)). When a party makes a Rule 12(b)(1) motion without including evidence, the challenge to subject matter
          jurisdiction is facial. Id. The court assesses a facial challenge as it does a Rule 12(b)(6) motion in that it “looks only at
          the sufficiency of the allegations in the pleading and assumes them to be true. If the allegations are sufficient to allege
          jurisdiction, the court must deny the motion.” Id. (citation omitted) (citing Paterson, 644 F.2d at 523).

2      Plaintiffs' amended complaint does not specify whether this person was a member of the Executive Board or a member
       of the union. See Am. Compl. ¶ 20.

3      TWU Local's first motion to dismiss predates plaintiffs' amended complaint. “The court may nevertheless treat defendant's
       motion as directed to the amended complaint because the defects in plaintiff[s'] complaint reappear in the amended
       complaint.” Moore v. Dall. Indep. Sch. Dist., 557 F.Supp.2d 755, 760 (N.D.Tex.2008) (Fitzwater, C.J.) (internal quotation
       marks and brackets omitted), aff'd, 370 Fed. Appx. 455 (5th Cir.2010). Because TWU Local asserts that the amended
       complaint is subject to dismissal on the same grounds as is the complaint, and the parties have fully briefed the sufficiency
       of the amended complaint, the court will consider TWU Local's arguments in its first motion to dismiss in assessing
       whether the amended complaint is subject to dismissal under Rules 12(b)(1) and 12(b)(6).

4      See Ramming v. United States, 281 F.3d 158, 161 (5th Cir.2001) (per curiam) (“When a Rule 12(b)(1) motion is filed in
       conjunction with other Rule 12 motions, the court should consider the Rule 12(b)(1) jurisdictional attack before addressing
       any attack on the merits.”).

5      Plaintiffs cite identical provisions of the NLA and LMRDA in counts I and II as the basis for their claims. Compare Am.
       Compl. ¶ 71, with ¶ 83 (citing 29 U.S.C. §§ 102, 401, 411, 412, 413, 431, 481, 482, 501, 529, and 530). The primary
       difference between each count is that, in count I, plaintiffs seek relief for “violation of the LM[RD]A,” Am. Compl. at 10 (bold
       font and upper case text omitted), while in count II, they seek relief for “breach of the TWU [International] Constitution &
       violation of the LM[RD]A,” id. (bold font and some upper case text omitted).

6      Without explanation, plaintiffs later aver that the retrial committee conducted an individual hearing against Click on May
       23. Plaintiffs do not contend that the Executive Board failed to notify Click of the May 23 retrial. Thus there is no basis for
       the court to reasonably draw any inference other than that the Executive Board notified Click of the May 23 proceeding
       at least several days before the hearing was conducted.



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                                                                 3:11–cv–08700–D & 3:10–cv–2618–D, 2011 WL 4398279,
                   2014 WL 4449800                               at *1 (N.D.Tex. Sept.21, 2011) (“Motions for leave to amend
      Only the Westlaw citation is currently available.          are typically governed by [Federal Rule of Civil Procedure]
               United States District Court,                     15(a)(2), or, if the time to seek leave to amend has expired,
                       N.D. Texas,                               by [Federal Rule of Civil Procedure] 16(b)(4) and then by
                     Dallas Division.                            Rule 15(a)(2).”). Here, Plaintiff has filed his motion within
                                                                 the deadline that the Court set, see Dkt. No. 121 at 1, and so
                                                                 Federal Rule of Civil Procedure 15(a)(2) applies to govern the
         Floyd ROGERS, III, Plaintiff,
                                                                 Court's analysis.
                    v.
   Sgt. Amie BUCHANAN, et al., Defendants.                       Rule 15(a)(2) requires that leave to amend be granted freely
                                                                 “when justice so requires.” Fed. R. Civ. P. 15(a)(2). Leave
                  No. 3:12–cv–2458–M–BN.                         to amend is not automatic, Jones v. Robinson Prop. Grp.,
                              |                                  L.P., 427 F.3d 987, 994 (5th Cir.2005), but the federal
                    Signed Sept. 9, 2014.                        rules' policy “is to permit liberal amendment to facilitate
                                                                 determination of claims on the merits and to prevent litigation
Attorneys and Law Firms                                          from becoming a technical exercise in the fine points of
                                                                 pleading,” Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594,
Elisabeth A. Wilson, Winstead PC, Dallas, TX, for Plaintiff.
                                                                 598 (5th Cir.1981). The Court “may consider a variety of
Robert S. Davis, Lee Ina Correa, Richard B. Vance, Jr.,          factors” when deciding whether to grant leave to amend,
Flowers Davis PLLC, Tyler, TX, for Defendants.                   “including undue delay, bad faith or dilatory motive on the
                                                                 part of the movant, repeated failures to cure deficiencies
                                                                 by amendments previously allowed, undue prejudice to the
                                                                 opposing party by virtue of allowance of the amendment, and
MEMORANDUM OPINION AND ORDER GRANTING
                                                                 futility of the amendment.” Jones, 427 F.3d at 994. But Rule
MOTION FOR LEAVE TO FILE PLAINTIFF'S SECOND
                                                                 15(a) provides a “strong presumption in favor of granting
AMENDED COMPLAINT
                                                                 leave to amend,” Fin. Acquisition Partners, LP v. Blackwell,
DAVID L. HORAN, United States Magistrate Judge.                  440 F.3d 278, 291 (5th Cir.2006), and the Court must do so
                                                                 “unless there is a substantial reason to deny leave to amend,”
 *1 Plaintiff Floyd Rogers III has filed an opposed Amended      Dussouy, 660 F.2d at 598; accord Jebaco Inc. v. Harrah's
Motion for Leave to File Second Amended Complaint. See           Operating Co. Inc., 587 F.3d 314, 322 (5th Cir.2009) (“leave
Dkt. No. 122. Plaintiff seeks to amend his operative complaint   to amend is to be granted liberally unless the movant has acted
to identify certain “Doe” defendants and add an additional       in bad faith or with a dilatory motive, granting the motion
defendant. Defendants oppose the motion to amend. See Dkt.       would cause prejudice, or amendment would be futile”).
No. 124.

For the reasons explained below, the Court GRANTS
                                                                 Analysis
Plaintiff's Amended Motion for Leave to File Second
Amended Complaint [Dkt. No. 123].                                Defendants oppose leave on the ground that adding the new
                                                                 defendants or newly named defendants in place of “Doe”
                                                                 defendants would be futile because any 42 U.S.C. § 1983
Legal Standards                                                  claims against the new defendants would be time-barred and
                                                                 neither Federal Rule of Civil Procedure 15(c)(3)'s relation-
Because the standards by which the Court evaluates a motion      back doctrine nor equitable tolling applies. See Dkt. No. 124.
for leave to amend the pleadings vary according to whether       Plaintiff concedes that Rule 15(c) (3)'s relation-back doctrine
the motion was filed before or after the deadline established    does not apply to an amended complaint to identify Doe
in a scheduling order, the Court must determine, as an initial   defendants but asserts that the doctrine of equitable tolling
matter, whether the motion was filed before or after the         and the discovery rule apply to toll the statute of limitations
deadline. See, e.g., Orthoflex, Inc. v. Thermotek, Inc., Nos.



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Rogers v. Buchanan, Not Reported in F.Supp.3d (2014)
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                                                                      requires consideration of evidence beyond the pleading, the
for Plaintiff's claims against the new defendants. See Dkt. No.
                                                                      question is not generally well-suited to being resolved on a
125 at 4.
                                                                      Rule 12(b)(6) motion. See Abecassis v. Wyatt, 785 F.Supp.2d
                                                                      614, 652 (S.D.Tex.2011). That observation applies equally to
 *2 The United States Court of Appeals for the Fifth Circuit
has interpreted “futility” in the context of Rule 15 to mean          a Rule 15(a)(2) futility analysis. See generally Stripling, 234
that “the amended complaint would fail to state a claim upon          F.3d at 873.
which relief could be granted.” Stripling v. Jordan Prod. Co.,
                                                                      Given the case law in this district and the nature of Rule
234 F.3d 863, 873 (5th Cir.2000). To determine futility, the
                                                                      15(a) (2)'s broad directive in favor of leave to amend
Court must apply the same standard as applies under Federal
                                                                      and the nature of an equitable tolling analysis, the Court
Rule of Civil Procedure 12(b)(6). See id. And, while the
                                                                      concludes that Defendants' allegations of futility present no
general rule is that the Court should not dismiss a complaint
                                                                      substantial reasons that warrant denying Plaintiff's motion
for failure to state a claim under Rule 12(b)(6) without giving
                                                                      for leave and that Defendants' assertion that claims against
the plaintiff an opportunity to amend, the Court “need not
                                                                      the new defendants are time-barred are better addressed on
permit futile amendments.” LaCroix v. Marshall Cnty., Miss.,
                                                                      a motion for summary judgment. See Fed. R. Civ. P. 15(a)
409 F. App'x 794, 802 (5th Cir.2011).
                                                                      (2); Dussouy, 660 F.2d at 598. And the Court finds that,
Equitable tolling is a limited exception to the Court's               under the circumstances here, where Plaintiff extensively
enforcing a statute of limitations and must be pleaded in             discusses equitable tolling and the discovery rule in his
                                                                      motion and reply in support of his request for leave to amend,
a complaint. See Jones v. Alcoa, Inc., 339 F.3d 359, 266
                                                                      it makes little sense to preclude a later decision on the
(5th Cir.2003). Plaintiff has not specifically pleaded equitable
                                                                      merits of any limitations defenses simply because Plaintiff's
tolling in his proposed amended complaint, but Plaintiff has
                                                                      proposed complaint attached to his motion for leave does not
provided extensive discussion of the grounds on which tolling
                                                                      specifically plead equitable tolling or the discovery rule. But
should apply in his briefing and argues that resolving the
                                                                      Plaintiff must plead any grounds for equitable tolling or the
limitations issues should be handled on a Federal Rule of Civil
                                                                      discovery rule—as argued in his briefing in support of his
Procedure 56 summary judgment motion and not a Rule 15
                                                                      motion for leave—in the second amended complaint that he
motion to amend. See Dkt. No. 125; see generally Jacobsen
                                                                      files based on the Court's leave in this order.
v. Osborne, 133 F.3d 315 (5th Cir.1998).

The Court agrees. A merits-based analysis of a fact-intensive
defense such as equitable tolling here is best undertaken in the      Conclusion
context of a Rule 56 motion. See generally Reneker v. Offill,
No. 3:08–cv–1394–D, 2011 WL 1427661, at *1 (N.D.Tex.                   *3 The Court GRANTS Plaintiff's Amended Motion for
Apr.13, 2011) (“[T]he court's almost unvarying practice when          Leave to File Second Amended Complaint [Dkt. No. 122].
futility is raised is to address the merits of the claim or defense   Plaintiff shall file his Second Amended Complaint, consistent
in the context of a Rule 12(b)(6) or Rule 56 motion. The court        with this opinion, by September 15, 2014.
only infrequently considers the merits of new causes of action
in the context of Rule 15(a). The court prefers instead to do         SO ORDERED.
so in the context of a Rule 12(b)(6) or Rule 56 motion, where
the procedural safeguards are surer.”). Although courts have
                                                                      All Citations
addressed equitable tolling in the context of a Rule 15 futility
analysis, courts have also held that, because the question            Not Reported in F.Supp.3d, 2014 WL 4449800
whether a party is eligible for equitable tolling generally

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